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Lawrence A. Widdis, Attorney for Plaintiff
Email: Lwiddis@aol.com

630 East Colorado Street

Glendale, CA 91205

Telephone: 818-613-2452 Fax: 818-241-4205
California Bar Number: 106477

 

Filed 12/17/20 Page1of10 Page ID #:34

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Satish Gupta
2258 Foothill Blvd., Suite 100 Case Number
La Canada, CA 91011 2:20-cv-11083-JVS-AS
Plaintiff AMENDED
y. COMPLAINT FOR DECLARATORY

Stephen Hahn, RELIEF

Commissioner,
Food and Drug Administration

10903 New Hampshire Ave
Silver Spring, MD 20993-0002
Defendant.
JURISDICTION AND VENUE

1. This action is based upon federal law and the defendant is a federal agency.

Therefore this court has jurisdiction pursuant to 28 U.S.C. § 1331.

Complaint - 1

 
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2. Plaintiffs residence and place of business is in Los Angeles County.
Therefore the venue is proper in this district pursuant to 28 U.S.C. §

1391(e)(1\(C).

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. Plaintiff, Satish Gupta (Gupta), is a private person.

. Defendant Stephen Hahn is being sued in his capacity as the commissioner

. Gupta requested certain documents from the FDA under the Freedom of

. Plaintiff filed an appeal with the FDA. The plaintiff has not received any

. Gupta has exhausted all available administrative remedies. Therefore under

. Gupta filed a FOIA request to the FDA on September 1, 2020. Gupta used

 

PARTIES

of the Food and Drug Administration (FDA). FDA is an agency of the
United States government.

STANDING

Information Act (FOIA), 5 U.S.C. § 552 on Sept. 1, 2020. The documents

were denied.

reply within the 30 working days from the time the appeal was filed.

5 U.S.C. § 706(1) and 5 U.S.C. § 552(a)(4\(B) Gupta has standing.

STATEMENT OF FACTS AND TIMELINE

the online form provided at the FDA website. The request was very specific

and included two items. One item was a three page of form (FDA Form

Complaint - 2

 
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1571) filed by a company called Moderna and the second item was an
attachment to this form. Gupta does not know the size of this attachment. A
printout of the confirmatory email received from the FDA is attached as
Exhibit 1.

9. The FDA rejected the request in its entirety on October 6, 2020. The FDA
claimed that the records were protected under Exemption (b)(4) of the
FOIA, “Trade secret and confidential commercial information,” This letter
is attached as Exhibit 2.

10. Gupta filed an appeal on October 15, 2020 by email. A printout of the
email is attached as Exhibit 3. The FDA received the appeal on October 15,

2020. This receipt is attached as Exhibit 4.

BACKGROUND INFORMATION

11, Relief Requested

The plaintiff humbly requests this court to review the actions of the agency

and find that under 5 USC §706 (2)(A):

a. A blanket denial of the request for information was unlawful.
b. Compell the FDA to release the requested records to Gupta.

¢. And assess the FDA the court costs and legal fees of Gupta.

Complaint - 3

 

 

 
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Respectfully submitted,

 
 

“Cawrence A. Widdis,
Attorney for Plaintiff

Complaint - 4

 
 

FDA FOIA

Request made on 8/30/20

 

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8S, Food aad Drug Administration

Confiritation Nuthber“FDAZ08 7908
Requester:

 

FOIA Request Confirmation

 

 

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Case 2:20-cv-11083-JVS-AS Document 10 Filed 12/17/20 Page 6of10 Page ID #:39

  

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October 6, 20270
Request Number 2020-6326

steve@doctorgupta.com

Subject: Moderna for phase three trial of Covid-19 vaccine FDA Form 1571
Dear Requester:

The Food and Drug Administration (FDA) has completed processing your request for records under the
Freedom of Information Act (FOIA).

We are denying your entire request. Specifically, we are denying records from an unapproved product
application.

The following exemption of FOIA, 5 U.S.C. 352, are the authority for denying you access to the non-
disclosable material: Exemption (b}(4) Trade secret and confidential commercial information. We
have included citations to the FOIA and FDA’s regulations for your information.

Section 5.31(d) of the implementing regulations of the Department of Health and Human Services
(DHHS) are applicable to this denial. The regulations are contained in the Code of Federal Regulations
{CFR}, Title 45.

The following sections of the implementing regulations of FDA and reasons applicable to this denial
contained in the Code of Federal Regulations (CFR), Title 21 are
® 20.61(b)(c), 601.50(b) and 312.130(b) Trade secret and confidential commercial information, in
general, and information, not previously publicly disclosed, in a pending investigational New
Drug Application (IND).

FDA's Regulations at CFR Part 20 are available at:
http:www.access.gpo.gov/nara/cfr/waisidx 04/21cfr20 04.htm|

You have the right to appeal this determination. By filing an appeal, you preserve your rights under
FOIA and give the agency a chance to review and reconsider your request and the agency’s

decision. Your appeal must be mailed within 90 days from the date of this response, to: Director, Office
of the Executive Secretariat, US Food & Drug Administration, 5630 Fishers Lane, Room 1050, Rockville,
MD 20857, E-mail: FDAFOIA@fda.hhs.gov. Please clearly mark both the envelope and your letter “FDA
Freedom of information Act Appeal.”

if you would like to discuss our response before filing an appeal to attempt to resolve your dispute
without going through the appeals process, please contact Katherine Uhl at 301-796-8975. You may

 

U.S. Food and Drug Administration
5630 Fishers Lane, Room 1035
Rockville, MD 20857

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also contact the FDA FOIA Public Liaison for assistance at: Office of the Executive Secretariat, US Food &
Drug Administration, 5630 Fishers Lane, Room 1050, Rockville, MD 20857, E-

mail: FDAFOIA@fda.hhs.gov.

if you are unable to resolve your FOIA dispute through our FOIA Public Liaison, the Office of Government
Information Services (OGIS), the Federal FOIA Ombudsman’s office, offers mediation services to help
resolve disputes between FOIA requesters and Federal agencies. The contact information for OGIS is as
follows: Office of Government Information Services, National Archives and Records Administration,
8601 Adeiphi Road-OGiS, College Park, MD 20740-6001; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769; e-mail at ogis@nara.gov.

if you have any questions, please contact Katherine Uhl at 301-796-8975.

Sincerely yours,

{. Digitally signed by Sarah 8.
S ara h B. Kotler oe)
Dake: 2020.10,06 08:33:48
Kotler -5 ce ~04'00'
Sarah Kotler
Director

Division of Freedom of Information

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coe Case 2:20-CV-11083-JVS-AS DOCLNenE TO HISPTAL PIO RAGE EFof 10 Page ID #:41

FDA Freedom of Information Act Appeal

From: Satish Gupta (satish@doctorgupta.com)
Jo. — fdafola@fda.hhs.gov
Date: Thursday, October 15, 2020, 06:59 PM PDT

Dear Appeal Officer:
Reference: Request Number 2020-6326

The FDA denied the entire request. The reason given was Exemption (b)(4) of the FOIA, “Trade
secret and confidential commercial information.” The FDA is required to give a reason with
specificity. Is it trade secret OR confidential commercial information OR both?

A “trade secret" is defined as “a secret, commercially valuable plan, formula, process, or device
that is used for the making, preparing, compounding, or processing of trade commodities and that
can be said to be the end product of either innovation or substantial effort.” See Pub. Citizen
Health Research Group. v. FDA, 704 F.2d 1280, 1284 n.7, 1288 (D.C. Cir. 1983)

“Confidential Commercial Information” has been defined by the Court as, “where commercial or
financial information is both customarily and actuaily treated as private by its owner and provided
to the government under an assurance of privacy, the information is ‘confidential’ within the
meaning of Exemption 4." See Food Marketing Institute v. Argus Leader Media, 139 S. Ct. at
2366

Records Requested

The request was very specific. Only two records were requested. One is form 1571 submitted by
Moderna for approval of their phase three trial of Covid-19 vaccine and the other is an attachment
to this form under section number 14(9): “previous human experience”.

Form 1571

It is a three page form. The blank form is available at the FDA website. The form asks basic
questions like the company’s name, officers’ names, addresses and list of attachments. None of
this will fall into Trade Secret or Confidential Commercial Information. The names of the people at
Moderna, who are working on the vaccine, are given in the New England Journal of Medicine
article listed below.

If the FDA believes that some of this information is confidential then the FDA has a duty to redact
those parts and release the rest of the form.

Attachment under Section number 14(9)
These papers would describe the previous experiences with human beings related to this vaccine
trial. The company, Moderna, has to treat this information as if it is private and not shared with the

public. Then only this information will be “Confidential commercial information.” See the
explanation by the Court as above in the case of Argus Leader.
EX W6/T ®

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Moderna has already published “previous human experiences” when Moderna published the
results of the phase two trials. The results were published in New England Journal of Medicine. It
is available to everyone free of charge at
https://Awww.nejm.org/doi/pdf/10.1056/NEJMo0a2022483.

Since the owner of the information does not treat it as private, the FDA has no basis to call it
private and confidential information. If the FDA believes it is private and confidential then the FDA
has to redact those parts and give an explanation as to why it is confidential commercial
information.

Please expedite this request. Covid-19 pandemic is raging and all information about it should be
made available to the public as soon as possible.

Thanks

Satish Gupta

2258 Foothill Blvd. Suite 100
La Canada, CA 91011

(818) 249-7200

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Case 2:20-cv-11083-JVS-AS Document 10 Filed 12/17/20 Page 10of10 Page ID #:43

 

Appeal file: 21-004AA

October 16, 2020

Sending via Email: satisnh@doctorqupta.com

Dear requester,

This letter acknowledges receipt of your Freedom of Information Act (FOIA) appeal,
submitted to the Food and Drug Administration (EDA). We received your appeal on October
16, 2020. Your appeal challenges the Food and Drug Administration (FDA’s) response to
your original request #2020-6326. Your appeal has been assigned the above-stated case
number based on when it was received in this office. Please reference this number on your
correspondence.

Your appeal is summarized below:
Denial of unapproved product form 1571 submitted by Moderna

Pursuant to 5 U.S.C. § 552(a)(6)(BYi) and 5 U.S.C. § 552(a)(6)(B\iii) of the FOIA and 45
CFR 5.24(£) of the HHS FOIA regulations, your appeal falis under “unusual circumstances” in
that our office will need to consult with another office that has substantial interest in the
determination of the appeal. The actual processing time will depend on the complexity of the
issues presented in the appeal. For more information about how your appeal will be processed
please refer to the HHS FOIA regulations

https://www, federalregister.gov/documents/2016/10/28/2016-25684/ freedom-of-information-

regulations).

The FOIA and the HHS FOIA regulations are available at the following web addresses:
hitps://www justice.gov/oip/freedom-information-act-5 -usc-552 and
https://www. federalregister.pov/documents/2016/ 10/28/20 16-25684/freedom-of-

information-regulations.

If you have any questions, please call (301}796-8975, or email us at idafoia@fda.hhs.gov.

Sincerely yours,

Katherine N. screwed uns

Uhl -5 A Date: 2020.30.16 10130
Katherine Uhi

Denials and Appeals Officer
FDA FOIA

U.S. Food and Drug Administration
5630 Fishers Lane, Room 1035

Rockville, MD 20857
www fda gov EX Ala ‘Fe 7
